Case 1:23-cv-20497-RKA Document 47 Entered on FLSD Docket 10/17/2023 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                     CASE NO. 23-20497-CIV-ALTMAN/GOODMAN

  OMAIDA VELAZQUEZ,

        Plaintiff,
  v.

  THE UNIVERSITY OF MIAMI, D/B/A
  LEONARD M. MILLER SCHOOL OF
  MEDICINE, et al.

        Defendants.
  ____________________________/

               ORDER OF RECUSAL AND ORDER OF REASSIGNMENT

        The Undersigned, to whom matters and motions in the above-styled case have

  been referred, recuses himself and refers the case to the Clerk of Court for reassignment

  pursuant to 28 U.S.C. § 455(a); the Court’s Internal Operating Procedure, IOP 2.16.00; and

  Administrative Order 2023-9.

        DONE AND ORDERED in Chambers, Miami, Florida, on October 17, 2023.
Case 1:23-cv-20497-RKA Document 47 Entered on FLSD Docket 10/17/2023 Page 2 of 2




         In accordance with the Local Rules and Administrative Orders for the Southern

  District of Florida, this cause will be reassigned to the calendar of United States

                      Alicia M. Otazo-Reyes
  Magistrate Judge _________________________________________.

         Copies of this order shall be served on all pending parties of record by notice of

  electronic filing and/or United States mail. All documents for filing in this case shall carry

                                               23-cv-20497-Otazo-Reyes
  the following case number and designation: __________________________________.

                                        October 17th
         BY ORDER OF the Court on _________________________, 2023, Miami, Florida.




                                                           ANGELA E. NOBLE
                                                           Clerk of Court




                                                                /s/Valerie Kemp
                                                           By: ____________________
                                                                  Deputy Clerk



  Copies furnished to:
  The Honorable Roy K. Altman
  All counsel of record




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